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 6                             UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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     UNITED STATES OF AMERICA,            )
10                                        )
                 Plaintiff,               )                 CASE NO.       MJ08-82
11         v.                             )
                                          )
12                                        )                 DETENTION ORDER
    CARLOS GARCIA-PEREZ,                  )
13                                        )
                 Defendant.               )
14 ______________________________________ )
15 Offense charged:
16             Count I:       Conspiracy to Distribute Methamphetamine, in violation of Title 21,
17                            U.S.C., Section 841(a)(1), 841(b)(1)(A) and 846.
18 Date of Detention Hearing: February 27, 2008
19             The Court, having conducted an uncontested detention hearing pursuant to Title 18 U.S.C.
20 § 3142(f), and based upon the factual findings and statement of reasons for detention hereafter set
21 forth, finds that no condition or combination of conditions which the defendant can meet will
22 reasonably assure the appearance of the defendant as required and the safety of any other person and
23 the community. The Government was represented by Jo Vanderlee for Matthew Diggs. The
24 defendant was represented by Lynn Hartfield.
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 1           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2            (1)     There is probable cause to believe the defendant committed the drug offenses of
 3                    conspiracy to distribute methamphetamine. The maximum penalty is in excess
 4                    of ten years. There is therefore a rebuttable presumption against the
 5                    defendant’s release based upon both dangerousness and flight risk, under Title
 6                    18 U.S.C. § 3142(e).
 7            (2)     The Bureau of Immigrations and Customs Enforcement has placed a detainer
 8                    on him.
 9            (3)     The defendant stipulates to detention at this time.
10   Based upon the foregoing information, which is also consistent with the recommendation of
11   detention by U.S. Pretrial Services, it appears that there is no condition or combination of
12   conditions that would reasonably assure future Court appearances and/or the safety of other
13   persons or the community.
14            It is therefore ORDERED:
15            (l)     The defendant shall be detained pending trial and committed to the custody of
16                    the Attorney General for confinement in a correction facility separate, to the
17                    extent practicable, from persons awaiting or serving sentences or being held in
18                    custody pending appeal;
19            (2)     The defendant shall be afforded reasonable opportunity for private consultation
20                    with counsel;
21            (3)     On order of a court of the United States or on request of an attorney for the
22                    Government, the person in charge of the corrections facility in which the
23                    defendant is confined shall deliver the defendant to a United States Marshal for
24                    the purpose of an appearance in connection with a court proceeding; and
25   //
26   //


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 1         (4)    The clerk shall direct copies of this order to counsel for the United States, to
 2                counsel for the defendant, to the United States Marshal, and to the United
 3                States Pretrial Services Officer.
 4         DATED this 28th day of February, 2008.



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                                                         MONICA J. BENTON
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                                                         United States Magistrate Judge
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     DETENTION ORDER
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